Case 1:04-cv-22177-FAM Document 23 Entered on FLSD Docket 02/24/2005 Page 1 of 2

CLOSED
CIVIL UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF FLORIDA
CASE Miami Division

Case Number: 04-22177-CIV-MORENO
USAMA EL ABAIDY,
Plaintiff,

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TOM RIDGE, Secretary, United States a ane
Department of Homeland Security, EDUARDO FEB 23 dbus i
AGUIRRE, Director, United States Bureau of '
Citizenship and Immigration Services, and JACK
BULGER, District Director, Miami District, —,
United States Bureau of Citizenship and

Immigration Services ,

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Defendants.
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ORDER GRANTING DEFENDANT'S MOTION TO DISMISS, FINAL ORDER OF
DISMISSAL, AND ORDER DENYING ALL PENDING MOTIONS AS MOOT

 

THIS MATTER is before the Court upon the Defendant's Motion to Dismiss (D.E. No.
21), filed on February 2, 2005, and the Plaintiffs Motion of No Opposition to Defendant's
Motion to Dismiss (D.E. No. 22), filed on February 17, 2005.

The Plaintiff's mandamus action to compel adjudication of the Plaintiffs application for
adjustment of status is moot because the USCIS denied the Plaintiff's application on February 3,
2005. Further, given that the Plaintiff has the right to appeal the denial to the Administrative
Appeals Unit, Plaintiff is not entitled to mandamus because he has not exhausted his
administrative remedies. Accordingly, it Is

ADJUDGED that Plaintiffs Motion to Dismiss is GRANTED. This action is

 
Case 1:04-cv-22177-FAM Document 23 Entered on FLSD Docket 02/24/2005 Page 2 of 2

DISMISSED, and all pending motions in this case are DENIED as moot with leave to refile if

appropriate.

DONE AND ORDERED in Chambers at Miami, Florida, this LY? day of February, 2005S.

  

 

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FEDERACO A. woe
UNITED STATES DISTRICT JUDGE

Copies provided to:

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AUSA

 
